Case 8:21-cv-00783-DOC-JDE Document 25 Filed 11/10/21 Page 1 of 1 Page ID #:165




                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No. SA CV 21-00783-DOC (JDEx)                              Date: November 10, 2021

 Title: PAUL SAPAN V. BENEFYTT TECHNOLOGIES, INC. ET AL.


 PRESENT:
                    THE HONORABLE DAVID O. CARTER, JUDGE

              Deborah Lewman                                  Not Present
              Courtroom Clerk                                Court Reporter

       ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
             PLAINTIFF:                                  DEFENDANT:
            None Present                                  None Present



       PROCEEDINGS (IN CHAMBERS): ORDER TO SHOW CAUSE

         Barton H. Hegeler’s name has appeared as attorney of record on a document
 recently filed with this Court. However, a review of our files indicates that Mr. Hegeler
 is not a member of the Bar of the Central District of California. A person may only enter
 an appearance in this Court as an attorney of record for another person, an organization,
 or a class only if they are a member of the Bar of this Court or are otherwise authorized
 to practice before this Court. Local Rule 83-2.1.1.1.

        Accordingly, the Court ORDERS Defendants’ counsel to appear before this Court
 on November 19, 2021, at 7:30 a.m. to show cause why Mr. Hegeler should not be
 terminated from the case. If Mr. Hegeler applies for admission to the Bar of the Central
 District of California or terminates himself from the case by November 17, 2021, the
 Court will vacate the hearing.

       The Clerk shall serve this minute order on the parties.
  MINUTES FORM 11
  CIVIL-GEN                                                          Initials of Deputy Clerk: djl
